
McKinney, J.,
delivered the opinion of the Court.
This was an indictment for an assault and battery. The defendant pleaded, in bar, a former conviction, before a justice of the peace. To this a replication was filed, alleging that the supposed former conviction was by the fraud and collusion of the defendant. The defendant rejoined, traversing the replication, and issue to the country was taken thereon. Upon this issue, the jury found against the defendant. The Court, without rendering any judgment on the verdict, on motion of the defendant, granted him leave to plead “not guilty” to the indictment. A trial was thereupon had, and the jury found the defendant not guilty as charged.
The Attorney-General then moved the Court to render up judgment against the defendant on the first verdict, disregarding the subsequent proceedings and verdict of acquittal. The Court refused this motion, and discharged the defendant; and the Attorney - General appealed in error.
*554We think the Court erred in allowing the defendant to plead not guilty, after verdict against him on the plea of former conviction. The latter plea was, in legal effect, a confession of the charge in the indictment; and upon this issue being found against the defendant, the Court ought to have proceeded to render judgment for fine and costs, as on a verdict on the plea of not guilty. In refusing the motion of the Attorney- G-eneral to render such judgment, notwithstanding the verdict on the plea of not guilty, the Court erred. The judgment will be reversed, and judgment rendered here for a fine of five dollars, with costs.
The point decided in the case of Knight vs. The State, at the last term, is not considered by us as being at all at variance with the principle laid down in the present case.
Judgment reversed.
